     Case 1:06-cr-00027-MW-GRJ          Document 188        Filed 10/23/07     Page 1 of 1


                                                                                       Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:06-cr-00027-MP-AK

GIOVANNI G. CONEY,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 187, Motion to Continue, filed by Defendant

Giovanni Coney. In the motion, Defendant states that he is currently cooperating with the

Government pursuant to his plea agreement. Because of this, Defendant requests that his

sentencing hearing, currently set for October 24, 2007, be continued. The Government does not

object to the requested continuance. Therefore, Defendant Coney’s motion is granted, and the

sentencing hearing is reset for Thursday, November 29, 2007, at 9:30 a.m.



       DONE AND ORDERED this            23rd day of October, 2007


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
